                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              Case No. 5:21-CV-381

                                          )
CLAUDONY JOSEPH,                          )
                                          )
       Plaintiff,                         )
                                          )
v.                                        )
                                          )
THE TOWN OF HOPE MILLS, THE HOPE )
MILLS POLICE DEPARTMENT                   )                           COMPLAINT
(A DEPARTMENT OF THE TOWN OF              )
HOPE MILLS); MELISSA P. ADAMS in her )
individual and official capacity; JOEL C. )
ACCIARDO, in his individual and official  )
capacity; BRADLEY DEAN, in his individual )
and official capacity,                    )
                                          )
       Defendants.                        )
                                          )


       NOW COMES the Plaintiff, Claudony Joseph, by and through his undersigned counsel,

complaining of the Defendants, alleges and says as follows:


                                     I. INTRODUCTION

       The Plaintiff asserts a claim against the Defendants under Title VII of the Civil Rights

Act of 1964 which makes it unlawful for an employer to discharge or otherwise to discriminate

against an employee because of the employee’s race. In addition, the Plaintiff asserts claims

against the Defendants under 42 U.S.C. § 1981 and 42 U.S.C. § 1983 for unlawful and

unconstitutional discriminatory practices under color of State law.


                               PARTIES AND JURISDICTION

       1.      The Plaintiff is a citizen and resident of Cumberland County, North Carolina.

       2.      The Defendant, the Town of Hope Mills, is a local municipality existing under
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laws of the State of North Carolina, is an employer within the meaning of Title VII and, at all

times relevant to the facts and allegations set forth herein, was acting under color of State law.

       3.      The Defendant, the Hope Mills Police Department, is a department of the Town

of Hope Mills and is an employer within the meaning of Title VII and, at all times relevant to the

facts and allegations set forth herein, was acting under color of State law.

       4.      Both Defendants, the Town of Hope Mills and the Hope Mills Police Department,

employ, on a regular basis, more than 15 individuals.

       5.      The Defendant, Melissa P. Adams (hereinafter referred to as the “Defendant

Adams”), is, upon information and belief, a citizen and resident of Cumberland County, North

Carolina, and, at all times relevant to the facts and allegations set forth herein, served as the

Town Manager of the Defendant, the Town of Hope Mills, and exerted her authority and power

as the final decision maker with respect to the adverse employment actions taken against the

Plaintiff, including placing the Plaintiff on probation in April of 2020 and Plaintiff’s demotion

and reduction in rank on or about October 30, 2020. All actions taken by the Defendant Adams

were in her capacity as Town Manager and within the scope and authority bestowed upon her by

the Town of Hope Mills. The Defendant Adams is being sued in both her individual and official

capacity.

       6.      The Defendant, Joel C. Acciardo (hereinafter referred to as the “Defendant

Acciardo”), is, upon information and belief, a citizen and resident of Cumberland County, North

Carolina, and, at all times relevant to the facts and allegations set forth herein, served in a

capacity as the Chief of Police for the Town of Hope Mills and the Hope Mills Police

Department. The Defendant Acciardo was the final decision maker regarding the Plaintiff’s

placement on probation and demotion and the Defendant Acciardo was also the instigator and


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promoter of the Defendant employer’s unlawful decision to place the Plaintiff on probation and

demote the Plaintiff. The Defendant Acciardo is being sued in his individual and official

capacity. All unlawful and unconstitutional actions taken by the Defendant Acciardo were

taken in his capacity as Chief of Police and within the course and scope of his employment with

the Town of Hope Mills and the Hope Mills Police Department.

       7.      The Defendant, Bradley Dean (hereinafter referred to as the “Defendant Dean”),

is, upon information and belief, a citizen and resident of Cumberland County, North Carolina,

and, at all times relevant to the facts and allegations set forth herein, served in a capacity as the

Deputy Chief of Police of the Town of Hope Mills and the Hope Mills Police Department. The

Defendant Dean was an instigator and promoter of the decision to place the Plaintiff on

probation and demote the Plaintiff. The Defendant Dean conducted an “internal investigation”

in an effort to create the false and unsupported conclusion that the Plaintiff, who was an

exemplary employee, engaged in conduct to justify the adverse employment actions by the

Defendants as set forth herein. The Defendant Dean’s conduct was in his capacity as Deputy

Chief of Police Department and within the course and scope of his employment.

       8.      Jurisdiction of this Court is invoked under 28 U.S.C. § 1343, this being a

proceeding seeking to enforce rights and remedies secured by Title VII. Jurisdiction is also

conferred upon this Court pursuant to 28 U.S.C. § 1331, this being an action under Federal

Statutes.

       9.      Venue is proper United States District Court, for the Eastern District of North

Carolina, pursuant to 42 U.S.C. § 2000e-(f)(3), 28 U.S.C. § 1391(b)(1) and § 1391(b)(2) as the

Plaintiff and the Defendants are located in Cumberland County, North Carolina, and this district

is where a substantial part of the events and omissions giving rise to the cause of action of herein


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occurred.

          10.   The conduct of the individual Defendants is imputed to the Defendants, the Town

of Hope Mills and the Hope Mills Police Department. In addition, the Town of Hope Mills, the

Hope Mills Police Department, and the individual Defendants being sued in their official

capacity, acted unlawfully as part of a policy and custom to discriminate against minority

employees.


                 II.    EXHAUSTION OF ADMINISTRATIVE REMEDIES

          11.   The Plaintiff filed a Charge of Discrimination with the EEOC referenced as

Agency Charge No. 433-2021-00344.          The Charge of Discrimination was based upon race

discrimination in connection with the Plaintiff’s employment. The Charge was filed on February

18, 2021. The Charge is attached hereto as Exhibit 1 and incorporated herein by reference.

          12.   On June 24, 2021, the EEOC issued to the Plaintiff a Notice of Rights after

making no determination as to the merits of the Plaintiff’s charge. The Plaintiff received the

Notice of Rights on or about June 26, 2021, related to the charge No. 433-2021-00344. A true

and accurate copy of the Plaintiff’s Notice of Rights is attached hereto as Exhibit 2 and

incorporated herein by reference.

          13.   The Plaintiff has filed this action within the ninety (90) days of his receipt of the

Notice of Right to Sue letter from the EEOC.

          14.   Laticia Black, the Human Resources Director for the Town of Hope Mills,

received the Notice of Right to Sue on or about June 24, 2021.

          15.   The Plaintiff has exhausted all required administrative remedies prior to filing this

action.



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                               III.   FACTUAL ALLEGATIONS

          16.    The Plaintiff incorporates by reference paragraphs 1-15 above as it fully restated

herein.

          17.    The Plaintiff is an African American, a person of color, and a member of a

protected class. As set forth in detail below, the Plaintiff was subject to multiple adverse

employment actions in his capacity as a sergeant for the Defendants, the Town of Hope Mills

and the Hope Mills Police Department. Similarly situated sergeants and officers that were not

in the same protected class (white males) and who engaged in comparable conduct were not

subject to adverse actions by the Defendants employers. White males were also promoted and

provided preferential treatment in their employment and subject to preferential treatment in

connection with the enforcement of the employer’s policies as compared to minorities, including

the Plaintiff.

          18.    As set forth below, the Defendants engaged in an intentional, calculated, and

systematic plan to discriminate against certain members of the Hope Mills Police Department,

including the Plaintiff, based upon the employee’s race/minority status. The systematic plan

was implemented covertly to remove from the Hope Mills Police Department minorities in an

effort to achieve all white male police department. This discriminatory conduct, which included

adverse actions against the Plaintiff, included demotions, unjustified write-ups, bogus

after-the-fact investigations, unjustified placement on probation, suspension, constructive

discharge and termination of members of protected classes.

          19.    As set forth below, Defendants’ actions violated clearly established statutory and

constitutional rights of the Plaintiff of which a reasonable person would have known.




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       a)      Plaintiff’s Job Performance

       20.     In 2012, the Plaintiff was hired by the Town of Hope Mills and the Hope Mills

Police Department to serve as a police officer. The Plaintiff was promoted to serve as a

sergeant in July of 2018.

       21.     In his capacity as a police officer between 2012 and 2018 the Plaintiff was

evaluated by the Defendants on a regular basis. In his capacity as a sergeant, the Plaintiff was

evaluated by the Defendants on a regular basis.

       22.     Throughout the Plaintiff’s employment, the Plaintiff received outstanding and

exemplary performance evaluations by the Defendants.

       23.     At all times relevant to the facts and allegations set forth herein, the Plaintiff was

performing his job in an outstanding and exemplary manner as reflected in his written

evaluations.

       24.     In 2019, the Plaintiff received performance evaluation which stated that the

Plaintiff showed an “awareness and appreciation of the rules and regulations” of the police

department and “complies without reminders.” The evaluation further references the Plaintiff as

having “excellent initiative”, was a “consistent self-starter; seldom must be told what to do”, and

“very imaginative in addressing unusual or unexpected situations.” The evaluation further states

that the Plaintiff was “conscientious about punctuality; not absent or late without good cause.

Plans ahead. Willingly adjusts schedule.” His ultimate evaluation was “outstanding” which is

the highest possible evaluation category under the Defendants’ evaluation policy.

       25.     Pursuant to the Defendants’ policy regarding evaluations, the “outstanding”

designation by the Defendants indicates that the Plaintiff’s performance “consistently and

significantly exceeds performance standards in important aspects of work.”             Further, the


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Plaintiff’s “work is performed at a sustained high level of proficiency” and “the employee

accomplishes the most difficult and complex assignments.” This evaluation was signed by the

Plaintiff’s supervisor on August 19, 2019, and ultimately approved by the Defendant Adams on

August 27, 2019. As a result of evaluation, the Plaintiff received a merit increase in salary for

“outstanding rating for annual evaluation.”

       26.     Notwithstanding the fact that the Defendants engaged in conscious and intentional

effort to lawfully discredit the Plaintiff, which resulted in the Plaintiff being placed on probation

in April of 2020 and demoted from sergeant to patrol officer on October 29, 2020, the Plaintiff

received the outstanding evaluation for the year of 2020. Upon information and belief, after the

Plaintiff received the outstanding evaluation for 2020 from his supervisor, the Defendant

Acciardo made a statement to the Plaintiff’s supervisor, to the effect, “how am I supposed to

justify his demotion now?”

       27.     The Plaintiff’s 2020 evaluation was signed by the Plaintiff’s Department Head as

well as the Defendant Adams, Town Manager for the Town of Hope Mills.

       28.     At all times relevant to the facts and allegations set forth herein, the Plaintiff was

performing his duties as a police officer and sergeant in a highly proficient manner and to the

satisfaction of the Defendants.

       29.     In April of 2020, the Plaintiff was placed on probation. The reason cited by the

Defendants was pretextual and motivated by discriminatory intent based upon the Plaintiff’s

protected status.

       30.     On October 29, 2020, the Plaintiff was demoted from the rank of sergeant to the

rank of patrol officer. The reason cited by the Defendants was pretextual and motivated by

discriminatory intent based upon the Plaintiff’s protected status.


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       31.     The Defendants supported and condoned an intentional and conscious policy and

custom to 1) prevent, discourage, and eliminate racial minorities, including the Plaintiff, from

obtaining promotions, 2) prevent, discourage, and eliminate the racial minorities, including the

Plaintiff, from obtaining positions of authority within the Hope Mills Police Department, 3)

engage in consistent and unequal disciplinary and employment practices to discriminate against

the Plaintiff and other racial minorities resulting in adverse employment actions.

       32.     Based upon the Plaintiff’s exemplary performance during his employment and

based upon the Defendants’ treatment of the Plaintiff and of similarly situated employees

(minorities) the Defendants’ adverse actions are causally connected to the Plaintiff’s protected

status as referenced above.

       33.     The Defendants’ actions were motivated by evil intent and reckless and callous

indifference to the Plaintiff’s rights resulting in intentional discrimination against the Plaintiff

based upon race/minority status.

       34.     Similarly situated employees who were white received preferential treatment,

were not disciplined for policy violations or misconduct, were promoted ahead of minorities

without justification and in a discriminatory manner and provided preferential treatment with

respect to their terms and conditions of employment.

       35.     The Defendants have intentionally and purposively engaged in activities to create

within the Hope Mills Police Department an exclusively white male police force as evidenced by

the Defendants’ demotion and attempts to get the Plaintiff to resign.

       36.     There is no rational basis for this treatment of the Plaintiff other than blatant

discrimination based on the Plaintiff’s race/minority.




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                                 IV.     CLAIMS FOR RELIEF
                                 FIRST CAUSE OF ACTION
                               (Title VII – Race Discrimination)

          37.   The Plaintiff incorporates by reference the paragraphs 1-36 above as it fully

restated herein.

          38.   The Defendants violated the Plaintiff’s rights under Title VII of the Civil Rights

Act on 1964 by discriminating against the Plaintiff, Claudony Joseph, in the terms, conditions,

and privileges of his employment because of his race/minority and subjecting him to disparate

treatment in the workplace resulting in a hostile work environment.

          39.   The Defendants violated Title VII of the Civil Rights Act of 1964 by subjecting to

the Plaintiff to disparate treatment based on his race/minority by placing the Plaintiff on

probation, which prevailed any opportunity to be promoted, and ultimately demoted the Plaintiff

because of his race.

          40.   The Defendants violated Title VII of the Civil Rights Act of 1964 by intentionally

eliminating the Plaintiff from employment opportunities and by ultimately demoting him, as

described herein, based upon his race.

          41.   The Defendants’ actions amount to willful or wanton conduct and evidence of

malice an intentional disregard for the Plaintiff’s statutory-protected rights and constitutional

rights.

          42.   The Plaintiff is entitled to damages as a result of the Defendants’ unlawful

conduct, including, but not limited to, past and future lost wages or benefits, damages to

compensate his past and future emotional distress, punitive damages, reasonable attorney’s fees

and costs of this action, and pre-judgment interest.



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                                SECOND CAUSE OF ACTION
                            (42 U.S.C. § 1981 and 42 U.S.C. § 1983)

       43.     The Plaintiff incorporates by reference the paragraphs 1-42 above as it fully

restated herein.

       44.     At all times relevant to the facts and allegations set forth herein, the Defendants

were acting under color of State law and subject to the provision of 42 U.S.C. § 1981 and 42

U.S.C. § 1983. The Defendants deprived the Plaintiff of his constitutional rights, violated 42

U.S.C. § 1981, 42 U.S.C. § 1983, and the Fourteenth Amendment by denying the Plaintiff equal

protection under the law, due process, as well as the rights secured by Title VII.

       45.     The Defendants violated the Plaintiff’s rights knowingly, intentionally and the

Town of Hope Mills and the Hope Mills Police Department are liable for the actions of its

employees since employees were executing the Defendants’ de facto policy and custom to

discriminate against minority employees, including the Plaintiff.

       46.     The individual Defendants are liable to the Plaintiff for their discriminatory

conduct as set forth herein as the individuals have final policy making authority relating to the

policies, customs implemented by the Town of Hope Mills through its Police Department or

participating in, promoting, and instigating the unlawful conduct.

       47.     The constitutional rights of the Plaintiff and the violation thereof by the

Defendants are clearly established statutory and constitutional rights of which a reasonable

person, including the Defendants, would have known and therefore the individual Defendants are

not entitled to “qualified immunity.”

       48.     In the alternative, assuming that individual Defendants do not have final

decision-making authority, final decision-maker would not have placed the Plaintiff on probation

or demoted the Plaintiff without the intervention of the wrongfully and illegally motivated

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Defendant Acciardo and Defendant Dean of the Police Department (individual Defendants) who

initiated and promoted the unlawful activities and conduct leading to the Plaintiff’s adverse

employment actions, including probation and demotion.

       49.       The individual Defendants, Acciardo and Dean, instigated an improper and

unlawful “investigation” to support the Plaintiff’s probation and demotion and took these actions

based upon racial bias.

       50.       The individual Defendants originally caused, participated in, facilitated,

condoned, approved and directed, or turned it blind eye to the race discrimination experienced by

the Plaintiff and alleged herein. Therefore, they are personally liable under the principles of 42

U.S.C. § 1983.

       51.       The Defendants’ conduct set forth herein was motivated by an evil intent and

showed reckless and callous indifference to the Plaintiff’s rights. Therefore, the Plaintiff is

entitled to recover punitive damages under 42 U.S.C. § 1983.


                                    V. PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff prays to the Court for the following relief:

       1.        The Court enter a judgment in favor of the Plaintiff and against the Defendants to

include compensatory damages proximately caused by the unlawful actions as referenced herein;

       2.        The Court enter an award in favor of the Plaintiff and against the Defendants for

punitive damages;

       3.        The Court enter an award in favor of the Plaintiff and against the Defendants for

reasonable expenses and costs including attorney’s fees;

       4.        A jury trial in all issues and claims;

       5.        The Court order to the Defendants to pay the Plaintiff judgment with interest at

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the legal rate on the date of filing this action until paid;

          6.       The Defendants be taxed with the cost of this litigation; and

          7.       The Court enter for such other and further relief as the Court deems just and

proper.




          This, the 22nd day of September, 2021.


                                                 VAN CAMP, MEACHAM & NEWMAN, PLLC
                                                 Attorney for Plaintiff


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